Case 2:05-cr-00066-MHT-WC Document 150 Filed 12/15/06 Page 1 of 6
Case 2:05-cr-00066-MHT-WC Document 150 Filed 12/15/06 Page 2 of 6
Case 2:05-cr-00066-MHT-WC Document 150 Filed 12/15/06 Page 3 of 6
Case 2:05-cr-00066-MHT-WC Document 150 Filed 12/15/06 Page 4 of 6
Case 2:05-cr-00066-MHT-WC Document 150 Filed 12/15/06 Page 5 of 6
Case 2:05-cr-00066-MHT-WC Document 150 Filed 12/15/06 Page 6 of 6
